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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                 Plaintiff,
     vs.                                Case No. 11-40057-04

ALFREDO BURGOIN,

                 Defendant.


                          MEMORANDUM AND ORDER

     This matter is presently before the court upon several motions

filed by Alfredo Burgoin, who is proceeding pro se.           The court has

a hearing scheduled to hear pretrial motions in this case, but the

court finds it necessary to resolve most of these motions prior to

the hearing.     Some of the issues raised by the defendant are so

frivolous that the court need not waste court time during the

scheduled hearing.    Other matters raised by the defendant in these

pleadings are easily decided, so no further argument is necessary.

     The defendant is charged with two others in a superseding

indictment with (1) conspiracy to possess with intent to distribute

methamphetamine in violation of 21 U.S.C. § 846 and (2) possession

with intent to distribute methamphetamine in violation of 21 U.S.C.

§ 841(a)(1).      The court originally appointed counsel for the

defendant.     On October 6, 2011, the defendant informed the court

that he wished to terminate the representation of his appointed

counsel.   After a hearing, the court allowed appointed counsel to
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withdraw and allowed the defendant to represent himself. The court

did appoint standby counsel for the defendant.

     The court shall now consider the following motions/pleadings

filed by the defendant: (1) “Jurisdictional Challenge to the

prosecution/plaintiff and to the court by special appearance” [Doc.

# 53]; (2) motion for leave for copy of complaint [Doc. # 54]; (3)

motion for grand jury transcripts [Doc. # 55]; (4) “Findings for

Right to Discovery” [Doc. # 56]; (5) “Order:           To Vacate a Closed

case” [Doc. # 59]; (6) motion for change of venue [Doc. # 64]; (7)

“Findings of Right to Recuse/ Request to Change Judge” [Doc. # 66];

(8) “Findings or Right to a Statement of Jurisdiction” [Doc. # 70];

(9) “Request to Compel” [Doc. # 71]; (10) motion for production of

ministerial grand jury records [Doc. # 77]; (11) “Findings of

Lawful Status” [Doc. # 79]; and (12) motion to dismiss indictment

for failure to comply procedural requirements [Doc. # 81].

Recusal

     The court shall initially address the defendant’s “Findings of

Right to Recuse/Request to Change Judge” (Doc. # 66), which the

court shall construe as a motion to recuse.           In this motion, the

defendant contends that I should recuse in this case because (1)

his Sixth Amendment right to counsel was violated by my appointment

of “standby counsel” for the defendant against his will; and (2) I

acted in a biased and prejudicial manner when I suggested at an

earlier hearing that he would face a harsher sentence if he


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continued to listen to a “jailhouse lawyer.”

       “The Due Process Clause entitles a person to an impartial and

disinterested tribunal in both civil and criminal cases.”                    United

States v. Nickl, 427 F.3d 1286, 1298 (10th Cir. 2005) (quoting

Marshall v. Jerrico, Inc., 446 U.S. 238, 242 (1980)) (internal

quotation marks omitted). “To demonstrate a violation of due

process because of judicial bias, a claimant must show either

actual bias or an appearance of bias.”           Bixler v. Foster, 596 F.3d

751,   762   (10th   Cir.   2010)   (quoting    Nickl,    427    F.3d   at   1298)

(internal     quotation     marks   omitted);     cf.    28   U.S.C.    §    455(a)

(requiring a judge to recuse himself “in any proceeding in which

his impartiality might reasonably be questioned”).                “The standard

is purely objective, and [t]he inquiry is limited to outward

manifestations and reasonable inferences drawn therefrom.”                   United

States v. Gambino–Zavala, 539 F.3d 1221, 1228 (10th Cir. 2008)

(alteration     in   original)      (quoting   Nickl,     427    F.3d   at    1298)

(internal quotation marks omitted).

       The allegations of the defendant are insufficient to show

actual bias or an appearance of actual bias.              The court begins by

examining the defendant’s contention that his Sixth Amendment right

to counsel was violated by the court’s appointment of standby

counsel.     The Constitution guarantees to every criminal defendant

the “right to proceed without counsel when he voluntarily and

intelligently elects to do so.”             Faretta v. California, 422 U.S.


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806,    807   (1975).      The    right       reflects   “a   nearly    universal

conviction, on the part of our people as well as our courts, that

forcing a lawyer upon an unwilling defendant is contrary to his

basic right to defend himself if he truly wants to do so.”                  Id. at

817.    The right of self-representation recognized in Faretta does

not bar the court from appointing standby counsel.                   The Supreme

Court has made clear that the right of self-representation is not

absolute.      McKaskle v. Wiggins, 465 U.S. 168, 178-179 (1984)

(appointment of standby counsel over self-represented defendant’s

objection is permissible).         Thus, the mere appointment of standby

counsel over the defendant’s objection does not constitute a

violation of the defendant’s Sixth Amendment rights or constitute

bias or prejudice against him.         The court does intend to allow the

defendant to control his own defense, to make motions, to argue

points of law, to participate in voir dire, to question witnesses,

and to address the court and the jury at appropriate points in the

trial.    Nevertheless, standby counsel may participate in the trial

proceedings, even without the express consent of the defendant, as

long as that participation does not “seriously undermin[e]” the

“appearance before the jury” that the defendant is representing

himself. Wiggins, 465 at 187. Additionally, the court is under no

duty to provide personal instruction on courtroom procedure or to

perform any legal “chores” for the defendant that counsel would

normally carry out. Id., at 183-184.               Even at the trial level,


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therefore, the government’s interest in ensuring the integrity and

efficiency of the trial at times outweighs the defendant’s interest

in acting as his own lawyer.

     The court turns next to the comments made by the court during

the earlier hearing.       The court finds that any statements made at

the time that the defendant sought to represent himself fail to

show actual bias or an appearance of actual bias.              The court was

simply     informing    the   defendant     of    the   dangers     of   self-

representation.        These dangers exist at the pretrial stage, at

trial, and at sentencing.       The court’s comments were appropriate

and proper given the circumstances.              In any event, in general,

“[a]lthough a judge's remarks during the course of a trial may be

‘critical,’ ‘disapproving,’ or ‘hostile’ to a party, usually they

will not support a partiality charge.”             Nickl, 427 F.3d at 1298

(quoting Liteky v. United States, 510 U.S. 540, 555 (1994)).                 The

remarks made by the court simply fail to show any partiality.

Accordingly, the court does not find that the defendant has

demonstrated any entitlement to recusal here.

Jurisdictional Challenges

     Three of the defendant’s pleadings (Doc. ## 53, 59 and 70)

raise similar arguments.      Defendant’s “Jurisdictional Challenge,”

which he filed on October 27, 2011, is a 54-page document which

contains    numerous    citations   to   cases,    statutes   including      the

Uniform Commercial Code, the Constitution and the Bible.                     The


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defendant has attached 26 pages of “affidavits” which contain

dictionary definitions as well as additional references to cases,

statutes, and the Constitution. The point of this document and the

attachments appears to be that this court lacks jurisdiction to

hear this criminal case.         In the motion, the defendant twice

indicates that his document is not a motion.              Rather, he contends

that his pleading is a “self executing document” which requires

that the charge against him be dismissed unless within 24 hours of

the document’s filing the court and the prosecutors show by sworn

affidavit proof of jurisdiction.

     The defendant followed up his “Jurisdictional Challenge” with

a document he filed on November 4, 2011 that he labeled as “ORDER:

To Vacate a Closed case. NOT A MOTION!”                  In this pleading, he

declared that this case is ordered closed for lack of a response by

the government to his “Jurisdictional Challenge.”                 The defendant

then filed a document entitled “FINDINGS OR RIGHT TO A STATEMENT OF

JURISDICTION”   on   November    18,       2011.    In    this   pleading,      the

defendant requests that this action be dismissed unless the court

or the government can prove that this court has jurisdiction to

prosecute this criminal case.

     The court begins by noting that it is unaware of any rule or

statute which supports the procedure the defendant asserts must

follow in concert with his “self-executing document.”                 Logically,

defendant is not in charge of deciding whether the case against him


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shall be dismissed.      Therefore, in spite of defendant’s claim that

Doc. ## 53 and 59 are not motions, the court shall treat them as

motions to dismiss for lack of jurisdiction.

     The law is well-settled that this court has authority to hear

cases charging a violation of the federal drug laws.               See Gonzales

v. Raich, 545 U.S. 1, 15 (2005); see also 18 U.S.C. § 3231 (“The

district   courts   of    the     United      States   shall     have    original

jurisdiction . . . of all offenses against the laws of the United

States.”); United States v. Tony, 637 F.3d 1153, 1158 (10th Cir.

2011) (“in every federal criminal prosecution [subject matter

jurisdiction] comes from 18 U.S.C. § 3231, . . . That’s beginning

and the end of the jurisdictional inquiry.”). In addition, Article

I, Section 8 of the United States Constitution grants to Congress

the power to create, define and punish crimes irrespective of where

they are committed.      United States v. Mundt, 29 F.3d 233, 237 (6th

Cir. 1994); United States v. Collins, 920 F.2d 619, 629 (10th Cir.

1990) cert. denied, 500 U.S. 920 (1991).               A similar challenge to

the court’s “territorial jurisdiction” was specifically rejected by

the Tenth Circuit in United States v. Lampley, 127 F.3d 1231, 1245-

46 (10th Cir. 1997), cert. denied, 522 U.S. 1137 (1998) where the

court stated:

     Defendants. . .challenge. . .the original jurisdiction of
     the federal district court to prosecute crimes committed
     within the States. Their principal argument is that the
     States are sovereign and the federal government is not
     authorized to prosecute crimes committed within their
     borders.   The Supremacy Clause, the Civil War, the

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       decisions of the Supreme Court, and acts of Congress make
       it clear that so long as there is a constitutionally
       authorized federal nexus, the federal government is free
       to act anywhere within the United States.

See also United States v. Deering, 179 F.3d 592, 597 (8th Cir.)

cert. denied, 528 U.S. 945 (1999); United States v. D’Armond, 65

F.Supp.2d     1189,      1197-98     (D.Kan.       1999).         Since    the    court’s

jurisdiction       to    hear    this   matter      is   firmly     established,        the

defendant’s “Jurisdictional Challenge” and the follow-up documents,

which the court has treated as motions to dismiss, shall be denied.

       In a reply to the government’s response to his jurisdiction

challenge, the defendant argued that he was actually challenging

the authority of the United States to prosecute this action.                              He

contends that the United States must show proof of jurisdiction to

prosecute this case.            This argument is also without merit and must

be    rejected.         “The    Constitution       is    the    source    of   Congress’

authority to criminalize conduct, whether here or abroad, and of

the    Executive's       authority      to   investigate         and   prosecute        such

conduct.”     United States v. Verdugo-Urquidez, 494 U.S. 259, 280

(1990).     Thus, the government’s attorneys in this case need not

“bring proof of jurisdiction to prosecute” as suggested by the

defendant.

Discovery Requests

       The court shall next turn to defendant’s motions seeking

various materials (Doc. ## 54, 55, 56, 71 and 77).                               In these

motions,     the    defendant       seeks        various       information     from     the

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government and        asserts various problems with the pleadings that

the   government      has      filed    in    this    case.        The   government       has

responded to these motions.

        The court has studied the various pleadings filed by the

defendant.        The court must note initially that they reflect a lack

of understanding of the applicable law and rules. The court warned

the defendant when he sought to represent himself that he was

probably unprepared to undertake the responsibilities required to

handle this case.              These pleadings reinforce the comments made

earlier by the court.              Nevertheless, the court will proceed to

decide these motions.

        The defendant initially argues that he is entitled to a copy

of    the    complaint     in    this   case.         He    also   contends      that    the

indictment is not a valid document because it is “not signed under

the penalty of perjury and therefore fails to meet the 4th Amendment

requirement of probable cause.” He further notes that Fed.R.Civ.P.

11 requires that “all documents filed by prosecutor and judge be

signed under penalty of perjury.”

        The court is not aware that a complaint was filed in this

case.       Thus, the defendant’s request for a copy of the complaint

shall       be   denied   as    moot.        This    case    was   initiated      with    an

indictment, which was later superseded.                     A grand jury issued each

of    the    indictments.         The    indictments        appear       to   comply     with

Fed.R.Crim.P. 7 and the Fifth Amendment to the United States


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Constitution.              There is no requirement, as suggested by the

defendant, that an indictment be “signed under the penalty of

perjury.” In addition, Rule 11 does not require that all documents

filed by the government or the court be “signed under penalty of

perjury.”         Therefore, this motion shall be denied.

       The defendant also seeks a copy of the grand jury transcripts

because he believes that the U.S. Attorney and ICE agents “lied”

and made “false declarations” before the grand jury.                           “As a matter

of public policy, grand jury proceedings generally must remain

secret except where there is a compelling necessity.”                                 United

States v. Procter & Gamble, 356 U.S. 677, 682 (1957).                           A court may

authorize disclosure of grand jury testimony, however, if the

defendant shows that “a ground may exist to dismiss the indictment

because      of       a    matter      that   occurred     before       the   grand   jury.”

Fed.R.Crim.P. 6(e)(3)(E)(ii).                     To obtain the testimony, a party

must    show      a       particularized       need    for    that      information    which

outweighs the public interest in secrecy.                         Proctor & Gamble, 356

U.S. at 681-82.                The vague and conclusory allegations offered by

the    defendant           do    not    demonstrate    a     particularized       need     for

disclosure.           Accordingly, the defendant’s motion shall be denied.

       The defendant next requests all evidence that is discoverable.

He    asks   that         he    be     provided   copies     of   all    discovery.        The

government has responded that it has provided full discovery to his

prior counsel who has been asked to provide that discovery to


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defendant’s standby counsel.             The government notes that full

discovery is only provided to counsel who agree not to allow their

clients to make copies or keep the discovery materials.                           The

government suggests that the defendant can inspect all of the

discovery that it is in the possession of with the defendant’s

standby counsel.

       The court agrees with the defendant that he is entitled to

receive the discovery provided by the Federal Rules of Criminal

Procedure and other established law.            However, these requirements

may not be all of the discovery that the government has disclosed

in this case.         At this time, the court is satisfied that the

defendant has access to all of the discovery provided by the

government.      If the procedures noted by the government have caused

or will cause the defendant some problems or concerns, he can so

advise the court at the hearing on the pretrial motions and the

court will consider his complaints at that time.

       The defendant also filed another motion entitled “Request to

Compel” in which he again sought (1) a copy of the complaint in

this    case;   and   (2)   proof   of   jurisdiction.           For   the   reasons

previously stated, this request to compel production of documents

shall be denied.

       The defendant has recently filed a motion for production of

“ministerial” grand jury records.             The defendant states initially

that he requests the United States to produce the records and


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minutes of the grand jury that investigated and/or indicted him in

this     case.       He   then    specifically       requests   the    following

information: (1) any order, directive or communication of any

court, officer or agent of the United States authorizing the

investigation of the defendant and the summons of the grand jury;

(2) any order, directive or communication of any court, officer or

agent of the United States authorizing extension of the grand jury

beyond any initially authorizing term; (3) any record, directive or

communication of any court, officer or agent of the United States

relating to selection procedures or empaneling of the grand jury;

(4) all written and oral instructions, directive or communication

of any court, officer or agent of the United States made to the

grand jury relating to the duties of grand jurors or to the law or

facts applicable to the grand jury’s investigation; and (5) the

date, time, place and duration of each hearing or session held by

the grand jury in connection with this investigation and return of

the indictment including the identification of all individuals, all

people who were present in the grand jury room.                 The government

contends in response that the records sought by the defendant are

protected     from   disclosure     absent     the   defendant’s      ability   to

demonstrate with particularity the existence of a compelling need

sufficient to outweigh the policy of grand jury secrecy.                        The

government has failed to set forth any specific reasons why the

individual requests of the defendant for certain documents should


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be kept secret.

     As explained previously in this order, grand jury proceedings

are confidential and matters before the grand jury are presumed to

be secret.     The secrecy of grand jury proceedings is codified in

Fed.R.Crim.P. 6(e).     The court, however, can allow the disclosure

of ministerial records of the grand jury.             In re Cudahy, 294 F.3d

947, 951 (7th Cir. 2002); In re Grand Jury Investigation, 903 F.2d

180, 182 (3rd Cir. 1990); In re Special Grand Jury, 674 F.2d 778,

779 (9th Cir. 1982); United States v. Diaz, 236 F.R.D. 470, 479

(N.D.Cal.2006); In re Grand Jury Proceedings, Special Grand Jury

89-2, 813 F.Supp. 1451, 1469-70 (D.Colo. 1992).                  A ministerial

record is one that generally relates to the procedural aspects of

the empaneling and operation of the grand jury.                 In re Special

Grand Jury, 674 F.2d at 779 n. 1.               The standard is whether

“disclosed information would reveal the substance or essence of the

grand jury’s investigation or deliberations.”                 In re Grand Jury

Proceedings,    813   F.Supp.   at   1469.      The    disclosure     of   these

materials is discretionary with the court.            Id.

     With the above framework in mind, the court shall direct the

government to provide the following materials to the defendant’s

standby counsel:       (1) the order to draw the grand jury that

produced the indictment and superseding indictment in this case;

(2) the subsequent orders to reconvene the grand jury when the

indictment and the superseding indictment were issued; (3) the


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charge to the grand jury given by Judge Robinson.               The court notes

that there been have no orders to extend the grand jury that issued

the indictments in this case, so this request is denied as moot.

The court shall also direct the defendant’s attention to D.Kan.

Rule 38.1 for the procedures for the selection of grand jurors in

the District of Kansas.          With this information, the defendant’s

request for the grand jury selection procedures is denied as moot.

Thus, the court shall generally grant the defendant’s requests. To

the extent that the court has not addressed the other requests, the

court    shall   deny   them.       The     government    shall    produce      the

aforementioned documents to the defendant’s standby counsel.                    To

the extent that the government does not possess these documents,

the clerk of the court is directed to make copies of the necessary

documents and make them available to defendant’s standby counsel.

To the extent necessary to comply with this order, the court orders

that such orders currently filed under seal be unsealed.

Venue

        The court turns to defendant’s request for change of venue.

In this motion, defendant contends that venue is improper in Kansas

because he “did not participate in any overt act that took place in

Kansas or would have a ‘locus’ of an effect in Kansas.”                  He also

contends that having the trial in Topeka, Kansas would “severely

prejudice” him because he would have “no witnesses to call on so

far from home.”


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     As   to   defendant’s        claims       of   improper     venue     as   to    the

conspiracy     charges,    as     a    general      rule,    Article     III    of    the

Constitution mandates that the trial of a crime be held in the

state where the crime was committed.                U.S. Const. art III, § 2, cl.

3 (“The Trial of all Crimes ... shall be held in the State where

the said Crimes shall have been committed.”).                  The Sixth Amendment

also works to protect a criminal defendant’s right to a speedy

trial “by an impartial jury of the State and district wherein the

crime shall have been committed.” U.S. Const. amend. VI.                        Where a

conspiracy charge is at issue, however, venue is proper in any

district in which some act in furtherance of the conspiracy was

committed,     even   if    the       defendant      has    neither     been    to    the

jurisdiction nor committed any acts there.                       United States v.

Acosta-Gallardo, 656 F.3d 1109, 1118 (10th Cir. 2011).

     Here, the superseding indictment sufficiently alleges the

necessary conspiracy-related activity to justify venue in the

District of Kansas.        The defendant has failed to demonstrate that

venue is improper here.

     The defendant has suggested that the court should transfer

this case to another district “in the interest of justice and the

better administration of it.”                  The proper venue for criminal

actions is normally “in [the] district in which the offense was

committed.”     Fed.R.Crim.P. 18.          A court may transfer a proceeding

to another district, upon motion, “[f]or the convenience of parties


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and witnesses, and in the interest of justice.”                  Fed.R.Crim.P.

21(b).    The defendant has failed to demonstrate that the transfer

of this case is necessary for the convenience of the parties and

witnesses, and in the interest of justice. He has only pointed out

he will be unable to call witnesses so far from home.             He, however,

has not explained (1) who those witnesses are; (2) what they will

testify to; and (3) why they will be unable to attend trial in

Kansas.    The showing made by the defendant is simply inadequate to

justify transfer of this case.      See United States v. Williams, 897

F.2d 1034, 1037 (10th Cir. 1990).        Accordingly, this aspect of the

motion shall also be denied.

Foreign Sovereign Immunities Act

     The defendant has filed a pleading entitled “Findings of

Lawful Status.”      The court shall construe this document as a

motion for relief under the Foreign Sovereign Immunities Act

(FSIA), 28 U.S.C. § 1602 et seq.         The defendant declares he is a

“Mexican National” and contends that he is immune from prosecution

under the FSIA.    He complains he is being denied due process of law

due to various actions by this court.          He also requests that the

Mexican Embassy be informed of his present status as a defendant in

this case.     The government responds that the FSIA provides no

immunity    from   federal   prosecution    for    the       defendant.        The

government further indicates it has informed the Mexican consulate

of this pending action against the defendant.


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     The court finds that the defendant is not entitled to any

relief under the FSIA.       The FSIA provides that in civil actions

foreign states are generally immune from the jurisdiction of the

United States.      28 U.S.C. § 1604; Hansen v. PT Bank Negara

Indonesia (Persero), TBK, 601 F.3d 1059, 1060 (10th Cir. 2010). The

statute provides no relief for individuals unless they are acting

within the scope of official duties for their country. See Enahoro

v. Abubakar, 408 F.3d 877 (7th Cir. 2005).        The defendant fails to

show that he is entitled to any relief in this criminal case based

upon the FSIA.     Accordingly, this portion of the motion shall be

denied.     The defendant’s request for notification of the Mexican

authorities shall be denied as moot.

Dismiss Indictment for Procedural Irregularities

     The defendant has filed a motion to dismiss the indictment for

the government’s failure to comply with procedural requirements

(Doc. # 81).      In the motion, the defendant contends that the

indictment should be dismissed because it does not have a “real

valid signature” of the foreperson and the assistant United States

attorney.    This contention lacks merit for a variety of reasons.

The court notes initially that the originals of the indictment and

the superseding indictment do contain signatures of the foreperson

and the assistant United States Attorney. The defendant is correct

that the copies of the indictments contained in the public file do

not contain signatures.      This fact does not require dismissal of


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the indictments.       See United States v. Curls, 219 Fed.Appx. 746,

752 (10th Cir. 2007) (lack of foreman’s signature in the public file

does not indicate that grand jury failed to issue indictment and

fails    to   establish       a    Fifth   Amendment     violation).        Finally,

dismissal would not be an appropriate remedy even if the indictment

violated Fed.R.Crim.P 6(c) or 7(c) because such signatures were

absent.       See Hobby v. United States, 468 U.S. 339, 345 (1984)

(“Even the foreman’s duty to sign the indictment is a formality,

for the absence of the foreman’s signature is a mere technical

irregularity that is not necessarily fatal to the indictment.”).

Accordingly, the defendant’s motion is denied.

Pending Motion

        The   court   notes       that   one    motion   remains    pending.        The

defendant has filed a motion to suppress.                    This motion will be

considered at the hearing scheduled on January 10, 2012 at 9:30

a.m.

        IT IS THEREFORE ORDERED that defendant’s motion for recusal

(Doc. # 66) be hereby denied.

        IT IS FURTHER ORDERED that defendant’s pleadings seeking

dismissal for jurisdictional reasons (Doc. ## 53, 59, 70 and 71) be

hereby denied.

        IT IS FURTHER ORDERED that defendant’s motion to dismiss for

improper venue or to change venue (Doc. # 64) be hereby denied.

        IT IS FURTHER ORDERED that the defendant’s motion for leave of

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copy of complaint (Doc. # 54) be hereby denied.

     IT IS FURTHER ORDERED that defendant’s motion for leave of

grand jury transcripts (Doc. # 55) be hereby denied.

     IT IS FURTHER ORDERED that defendant’s motion for discovery

(Doc. # 56) be hereby denied.

     IT IS FURTHER ORDERED that defendant’s request to compel (Doc.

# 71) be hereby denied.

     IT IS FURTHER ORDERED that defendant’s motion for production

of ministerial grand jury records (Doc. # 77) be hereby granted in

part and denied in part as set forth in the foregoing memorandum.

     IT IS FURTHER ORDERED that defendant’s motion for relief under

the Federal Sovereign Immunities Act (Doc. # 79) be hereby denied.

     IT IS FURTHER ORDERED that defendant’s motion to dismiss for

failure to comply with procedural requirements (Doc. # 81) be

hereby denied.

     IT IS SO ORDERED.

     Dated this 20th day of December, 2011 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge




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